                                                         U.S. Department of Justice

                                                         Nathaniel R. Mendell
                                                         Acting United States Attorney
                                                         District of Massachusetts

Main Reception: (617) 748-3100                           John Joseph Moakley United States Courthouse
                                                         1 Courthouse Way
                                                         Suite 9200
                                                         Boston, Massachusetts 02210

                                                         January 4, 2022

Eric S. Rosen, Esq.
Devin Freedman, Esq.
Roche Freedman LLP
470 Atlantic Avenue, 4th Floor
Boston, MA 02210

         Re:      United States v. David Schottenstein

Dear Mr. Rosen and Mr. Freedman:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, David Schottenstein (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

         1.       Change of Plea

         As soon as practicable, Defendant will waive Indictment and plead guilty to Count One of
the attached Information, which charges conspiracy to commit securities fraud, in violation of 18
U.S.C. § 1349. Defendant admits that Defendant committed the crime specified in that count and
is in fact guilty of it. Defendant also agrees to waive venue and to waive any legal or procedural
defects in the Information.

         2.       Penalties

        Defendant faces the following maximum penalties: incarceration for 20 years; supervised
release for 3 years; a fine of $250,000 or twice the gross gain or loss, whichever is greater; a
mandatory special assessment of $100; restitution; and forfeiture in the amount of $634,893.
       3.      Sentencing Guidelines

       The U.S. Attorney will take the position that Defendant’s total “offense level” under the
Guidelines is 23:

               a) Defendant’s base offense level is 8, because the offense involved insider trading
                  (USSG §2B1.4);

               b) Defendant’s offense level is increased by 18 because the gain from the offense
                  was more than $3.5 million but not more than $9.5 million (USSG
                  §2B1.1(b)(1)(J)); and

               c) Defendant’s offense level is decreased by 3, because Defendant has accepted
                  responsibility for Defendant’s crime (USSG § 3E1.1).

       Defendant understands that the Court is not required to follow this calculation or even to
sentence Defendant within the Guidelines and that Defendant may not withdraw Defendant’s
guilty plea if Defendant disagrees with how the Court calculates the Guidelines or with the
sentence the Court imposes.

        Defendant also understands that the government will object to any reduction in Defendant’s
sentence based on acceptance of responsibility if: (a) at sentencing, Defendant (directly or through
counsel) indicates that Defendant does not fully accept responsibility for having engaged in the
conduct underlying each of the elements of the crimes to which Defendant is pleading guilty; or
(b) by the time of sentencing, Defendant has committed a new federal or state offense, or has in
any way obstructed justice.

       If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration at the low end of the Guidelines sentencing range as calculated by
                  the U.S. Attorney in Paragraph 3;

               b) a fine at the low end of the Guidelines sentencing range as calculated by the
                  U.S. Attorney in Paragraph 3, unless the Court finds that Defendant is not able,
                  and is not likely to become able, to pay a fine;


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       6.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.
       The assets to be forfeited specifically include, without limitation, the following:
               a. $634,893 in United States currency, to be entered in the form of an Order of
                  Forfeiture (Money Judgment).

      Defendant admits that $634,893 is subject to forfeiture on the grounds that it is equal to the
amount of proceeds the defendant derived from the offense.
         Defendant acknowledges and agrees that the amount of the forfeiture money judgment
represents proceeds the Defendant obtained (directly or indirectly), and/or facilitating property
and/or property involved in, the crimes to which Defendant is pleading guilty and that, due at least
in part to the acts or omissions of Defendant, the proceeds or property have been transferred to, or
deposited with, a third party, spent, cannot be located upon exercise of due diligence, placed
beyond the jurisdiction of the Court, substantially diminished in value, or commingled with other
property which cannot be divided without difficulty. Accordingly, Defendant agrees that the
United States is entitled to forfeit as “substitute assets” any other assets of Defendant up to the
value of the now missing directly forfeitable assets.
        Defendant agrees to consent to the entry of an order of forfeiture for such property and
waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a)
regarding notice of the forfeiture in the charging instrument, advice regarding the forfeiture at the
change-of-plea hearing, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Defendant understands and agrees that forfeiture shall not satisfy or
affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed
to the United States.
        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.




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        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.
         Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.
       7.      Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

       8.      Breach of Plea Agreement

        Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney
the right to be released from his commitments under this Agreement, to pursue any charges that
were, or are to be, dismissed under this Agreement, and to use against Defendant any of
Defendant’s statements, and any information or materials Defendant provided to the government
during investigation or prosecution of Defendant’s case—even if the parties had entered any earlier
written or oral agreements or understandings about this issue.

        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

       9.      Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

       10.     Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.


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        If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorneys Stephen E. Frank
or Seth B. Kosto.

                                                    Sincerely,

                                                    NATHANIEL R. MENDELL
                                                    Acting United States Attorney

                                            By:
                                                     Stephen E. Frank
                                                     Chief
                                                     Securities, Financial & Cyber Fraud Unit
                                                     Seth B. Kosto
                                                     Deputy Chief
                                                     Securities, Financial & Cyber Fraud Unit




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